
The motion was overruled by Lowrie, J. from whose decision the defendant appealed. The cause was here submitted, and the opinion of the court delivered by
Cameron, J.
It is essential to the due administration of justice, that the parties to a suit should have a proper degree of confidence in the integrity and impartiality of the jurors who are to pass on their rights.
We entertain no doubt but that the merits of this application come clearly within the just interpretation of the acts of assembly, authorising the courts to remove causes from one county to another for trial.
No neglect or delay in making the application, can be fairly imputed to the defendant; for although the suit has been depending for several terms, yet till he became interested in it, he had no authority to interfere in it: and the application for a removal is made at the same term at which he is made a party to the suit.
The defendant’s wife living at a distance, and being ignorant of the existing impediments to a fair trial, ought not to fee precluded (supposing her still unmarried) from applying for a removal of the cause.
Let the cause be sent back with directions that it be removed to some adjoining county for trial.
